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         United States Court of Appeals
              for the Fifth Circuit                               United States Court of Appeals
                                                                           Fifth Circuit

                              _____________                              FILED
                                                                  October 31, 2024
                                No. 24-40705                        Lyle W. Cayce
                              _____________                              Clerk

Texas Bankers Association; Rio Bank, McAllen, Texas;
American Bankers Association; Texas First Bank;
Independent Bankers Association of Texas;
Independent Community Bankers of America,


                                                         Plaintiffs—Appellants,


                                     versus


Consumer Financial Protection Bureau; Rohit Chopra,
in his official capacity as Director of the Consumer Financial Protection Bureau,


                                                       Defendants—Appellees,


                                     versus


Texas Farm Credit; Farm Credit Council; Capital Farm
Credit,


                                              Intervenor Plaintiffs—Appellants,


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XL Funding, L.L.C.; Equipment Leasing and Finance
Association; Rally Credit Union; Credit Union
National Association; Cornerstone Credit Union
League,


                                                     Intervenors—Appellants.

              ________________________________

               Appeal from the United States District Court
                   for the Southern District of Texas
                         USDC No. 7:23-CV-144
              ________________________________

                       UNPUBLISHED ORDER

Before Smith, Graves, and Engelhardt, Circuit Judges.
Per Curiam:
       IT IS ORDERED that Appellants’ opposed motion for stay
pending appeal is carried with the case.
       IT IS FURTHER ORDERED that Appellants’ opposed motion
for temporary administrative stay of CFPB’s rule implementing § 1071 of
the Dodd-Frank Wall Street Reform and Consumer Protection Act of
2010 is carried with the case.
      IT IS FURTHER ORDERED that Appellants’ motion to
expedite the appeal is GRANTED.




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